Case 1:25-cv-20647-BB Document 14-1 Entered on FLSD Docket 02/14/2025 Page 1 of 12




                        Exhibit A
Case 1:25-cv-20647-BB Document 14-1 Entered on FLSD Docket 02/14/2025 Page 2 of 12




                                LOAN SALE AND ASSIGN MENT AGREEMENT
                                                                                                           -l.~
                                                                                            l
            THIS LOAN SALE AND ASSIGNMENT AGREEMENT (the "Agreement"), is entered into this ;Ll,,_..--
    day of December, 2024 by and between AMERANT EQUIPMENT FINANCE a division of AMERANT BANK,
    N.A. ("Assignor") and EUCLID TURNAROUND OPPORTUNITY FUND LP ("Assignee"). Hereinafter,
    Assignor and Assignee may also be referred to as a "Party" or "Parties".

                                               BACKGROUND

            W HEREAS, Assignor is the holder of certain loan obligations due from Alliance Metals LLC
    ("Borrower") and certain guarantees of said loan obligations and certain collateral securing said loan
    obligations. All documents constituting and/or evidencing said loan and guaranty obligations and all
    collateral for said obligations are described in Exhibit A attached heret o and made a part hereof and
    are collectively hereinafter referred to as the "Loan and Collateral Documents";

            WHEREAS, the Borrower and guarantors are in default of their obligations under the Loan and
    Collateral Documents and there is presently pending a lawsuit commenced by Assignor entitled
    Amerant Equipment Finance, a division of Amerant Bank, N.A vs. Alliance Metals LLC et al, Case No.
    2024-015430-CA-01 in the Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade County,
    Florida ( the "Lawsuit") to enforce Assignor's rights and remedies as a result of said defaults; and

           W HEREAS, pursuant to the terms and conditions of this Agreement, Assignor desires to sell,
    and Assignee desires to purchase, all of Assignor's right, title and interest in, to and under the Loan
    and Collateral Documents and in regard to the Lawsuit;

            NOW, TH EREFORE, in· accordance with the terms of this Agreement Assignor and Assignee,
    intending to be legally bound, hereby agree as follows:

            1.      Assignment. On the Effective Date (as hereinafter defined), Assignor shall sell, assign
    and transfer to Assignee all of Assignor's right, title and interest in, to and under the Loan and
    Collateral Documents and the Lawsuit, in exchange for payment to Assignor of the Purchase Price (as
    hereinafter defined) by wire transfer of immediately available funds to an account designated by
    Assignor in writing. Assignor and Assignee hereby agree that they shall each treat t he purchase price
    as confidential information for their respective internal use only and not disclose same to any third
    party except as required by applicable law or regulation.

            2.      Assumption. Upon the Effective Date, Assignee shall thereafter assume and have all
    rights and obligations under the Loan and Collateral Documents including all rights to enforce same
    and to receive all payments and other consideration due and payable thereunder in the place and
    stead of Assignor.

                                      The "Pu rchase Price" shall be
                                     payable as follows:
                    (a} concurrently herewith, Assi nee shall make payment of a deposit in the amount of
                                                              the "Deposit"} representing 10% of t he tota l
     Purchase Price in escrow to McDermott Will & Emery LLP by wire transfer of immediately available
Case 1:25-cv-20647-BB Document 14-1 Entered on FLSD Docket 02/14/2025 Page 3 of 12




       funds to be paid to Assignor on the Effective Date if the Diligence Contingency (as defined below) is
       satisfied and to be returned to Assignee if the Diligence Contingency is not satisfied, and
                        (b) the amount of                                                                dollars
     -               representing 90% of the Purchase Price shall be paid by Assignee to Assignor on the
       Effective Date via wire transfer of immediately available funds if the Diligence Contingency is satisfied.

             4.       Diligence ContingencJl. The Parties acknowledge and agree that Assignee is
     conducting and has not yet completed its due diligence as to the Borrower, all guarantors, all
     collateral, the Loan and Collateral Documents, the Lawsuit and other reasonably related information.
     The Parties further acknowledge and agree that it shall be a condition of Assignee's obligation to pay
     the Purchase Price and otherwise perform hereunder that Assignee be satisfied, in its sole and
     absolute discretion, with the results of that due diligence. In that regard, Assignee shall provide
     written notice to Assignor on or before January 24, 2025 whether or not this Diligence Contingency
     has been satisfied. In the event Assignee provides written notice to Assignor on or before 6:00 PM
     Eastern Time on January 24, 2025 that it is not satisfied with the results of its due diligence, this
     Agreement shall be of no further force or effect and t he Deposit shall be ret urned to Assignee.
     Assignee's failure to provide written notice to Assignor on or before 6:00 PM Eastern Time on January
     24, 2025 shall be construed to mean Assignee is not satisfied with the results of its due diligence.
     Assignor shall cooperate with Assignee to permit Assignee to inspect, protect and preserve the
     collateral and obligations under the Loan and Collateral Documents from the date hereof through the
     Effective Date.

              5.      Effective Date. In the event, and only in the event, the Diligence Contingency is
     satisfied, the "Effective Date" shall be five (5) business days following the date on which Assignee
     gives written notice to Assignor that the Diligence Contingency has been satisfied but in no event later
     than January 31, 2025 unless· the Parties expressly agree in writing to shorten or extend the Effective
     Date.

             6.      Litigation Transfer. Promptly following the Effective Date, Assignor shall cooperate
     with Assignee to have Assignee substituted as plaintiff in the Lawsuit and to provide for any
     substitution of counsel as Assignee may determine. Assignor shall be responsible for all counsel fees
     incurred in connection with the Lawsuit only up untiJ t he Effective Date. Assignee shall be solely
     responsible for all counsel fees incurred in connection with the Lawsuit following the Effective Date,
     including but not limited to those related to the substitution of counsel.

             7.      Liquidated Damages. In the event that the Diligence Contingency is satisfied and the
     Assignee fails to pay the balance of the Purchase Price on the Effective Date, the Assignor shall be
     entitled to receive and retain the Deposit as liquidated damages as its sole and exclusive remedy
     hereunder.

            8.      Representations and Warranties of Assignor. Assignor hereby represents and
     warrants to Assignee that as of t he Effective Date:

                     (a)     Assignor is the sole legal and beneficial owner of the Loan and Collateral
     Documents and all rights thereunder. Assignor has not assigned or otherwise transferred (including
     by way of collateral assignment) to any third party any rights with respect to the Loan and Collateral




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Case 1:25-cv-20647-BB Document 14-1 Entered on FLSD Docket 02/14/2025 Page 4 of 12




     Documents, and has not released any collateral thereunder or modified, terminated or subordinated
     its liens in such collateral.

                     (b)    Assignor has all right, power, legal capacity and authority to execute and
     deliver this Agreement and to perform hereunder and under each other agreement that Assignor
     may execute and deliver in connection herewith.

                     (c)      The execution, delivery and performance of this Agreement and the
     consummation of the transactions contemplated by this Agreement have been duly authorized by all
     requisite corporate action on the part of Assignor, and do not and will not (i) violate any law, rule,
     regulation, order, writ, judgment, injunction, decree, determination or award (collectively, "Laws and
     Orders") presently in effect having applicability to Assignor or any property of Assignor or (ii) result in
     a breach or constitute a default under any agreement to which Assignor is subject (including the Loan
     and Collateral Documents).

                   (d)     This Agreement constitutes the legal, valid and binding obligation of Assignor
     enforceable against Assignor in accordance with its terms.

                     (e)      Exhibit B attached hereto and made a part hereof sets forth a complete and
     accurate history of all sums loaned or advanced under the Loan and Collateral Documents, all interest
     and other charges incurred, and all payments or other credits received with respect thereto and sets
     forth the current balance due as of the date hereof and Assignor shall provide to Assignee a
     supplement to Exhibit Bas of the Effective Date to reflect all charges after the date hereof and through
     the Effective Date and the total balance due as of the Effective Date.

                    (f)    Assignor has dealt with no broker or similar person in connection with entering
     into this Agreement and has taken no action that would give rise to any claim by any person or entity
     for brokerage commissions, finder's fees or the like relating to this Agreement or the transactions
     contemplated hereby.

                      (g)      The Loan and Collateral Documents listed on Exhibit A represent all of the
     agreements evidencing or relating to the obligations of the Borrower and guarantors and any
     collateral for said obligations. The copies of the Loan and Collateral Documents provided to Assignee
     for inspection prior to the date hereof are true and complete copies of all such Loan and Collateral
     Documents, and no provisions thereof have been amended, modified or waived.

                    (h)      Assignor has provided to Assignee access to Assignor's entire file relating to
      the Loan and Collateral Documents for inspection by Assignee prior to the date hereof.

      Except as expressly set forth in this Agreement, (i) Assignor makes no representations, warranties, or
      covenants of any kind with respect to the Loan and Collateral Documents; (ii) Assignor hereby
      disclaims any other representations or warranties, express or implied, written or oral, however made,
      whether parole or otherwise, whether or not related to the subject matter of this Agreement or
      intended to induce execution of this Agreement; and (iii) the Loan and Collateral Documents are being
      sold to Assignee on an "AS IS, WHERE IS" basis.




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Case 1:25-cv-20647-BB Document 14-1 Entered on FLSD Docket 02/14/2025 Page 5 of 12




     9.     Representations and Warranties of Assignee. Assignee hereby represents and warrants to
     Assignor that as of the Effective Date:

                   (a) Assignee has the full power, authority and legal right to execute and deliver this
     Agreement, to consummate the transactions contemplated hereby, and to perform and observe all
     terms and conditions contained herein.

                    (b) The execution and delivery of this Agreement by Assignee does not, and the
     performance of this Agreement by Assignee will not, (i) result in a violation of or conflict with any
     provisions of Assignee's governing instruments, (ii) violate any law, rule, regulation, code, ordinance,
     judgment, injunction, order, writ, decree, or ruling applicable to Assignee, or (iii) conflict with or violate
     any agreement, permit, concession, grant, franchise, license, or other governmental authorization or
     approval applicable to Assignee with respect to this Agreement or the transaction contemplated by
     this Agreement.

                    {c) Assignee has taken no action that would give rise to any claim by any person or
     entity for brokerage commissions, finder's fees or the like relating to this Agreement or the
     transactions contemplated hereby.

                     (d) Assignee is a sophisticated investor in commercial loans and security therefor, and
     its decision to purchase the Loan and Collateral Documents from Assignor is based solely upon the
     representations of Assignor expressly made in this Agreement and Assignee's own independent
     expert evaluation of the Loan and Collateral Documents and other materials deemed relevant by
     Assignee.

                     (e) Assignee hereby accepts and agrees to perform all of the terms, covenants and
     conditions of the Loan and Collateral Documents required on the part Assignee thereunder from and
     after the Effective Date, including without limitation the obligation to provide written notice to
     Borrower and any guarantor(s) of Assignee's acquisition of the Loan and Collateral Documents from
     Assignor promptly after the Effective Date.

              10.       Indemnity. The representations, warranties and covenants of the Parties herein shall
     survive the Effective Date and any termination of this Agreement in accordance with the terms hereof.
     Each Party shall indemnify, defend and hold the other Party and its successors and assigns harmless
     from and against any and all liabilities, claims, actions or causes of action, including attorney's fees
     sustained or incurred by such Party or its successors and assigns, as a result of, or arising out of, or
     by virtue of: (a) the inaccuracy of any material representation or warranty made by any Party herein;
     or (b) a breach by any Party hereto of any of the covenants of this Agreement to be performed by such
     Party.

              11.     Delivery of Documents. Upon the Effective Date, Assignor shall deliver to Assignee all
     of the Loan and Collateral Documents listed on Exhibit A, including all original documents in
     Assignor's possession, and shall also deliver to Assignee copies of the entire content of Assignor's files
     relating to the Loan and Collateral Documents that were made available for inspection by Assignee
     prior to the Effective Date.
Case 1:25-cv-20647-BB Document 14-1 Entered on FLSD Docket 02/14/2025 Page 6 of 12




              12.     Further Assurances. Each Party agrees to take such actions and to execute and/or
     deliver to the other Party such further instruments, agreements and documents as such Party may
     reasonably request including, without limitation, assignments in recordable form, if necessary,
     required to evidence the transfer to Assignee of all of Assignor's right, title and interest under or with
     respect to the Loan and Collateral Documents and to verify the balance due thereunder as of the
     Effective Date. To the extent Assignor receives any payments on account of the Loan and Collateral
     Documents after the Effective Date, Assignor shall promptly remit same to Assignee.

             13.   • Notices. All notices hereunder shall be provided by electronic mail as follows:

                   (a) if to Assignee c/o Howard Siegel at howard@~ucinv.com with a copy to Marcus Helt
     at rnhelt@mvve.com
                   (b) if to Assignor c/o Eduardo Marino at emarino@amerantbank.co111 with a copy to
     Robert Lopez at rl.Q~z@amerambank.com.

             14.       Governing Law and Venue. This Agreement and the rights and obligations of the
     parties hereunder shall be governed by and construed and enforced in accordance with the laws of
     the State of Florida, without regard to its conflicts of laws principles. Any legal or equitable action
     arising out of this Agreement may be brought in the Federal and state courts located in Miami-Dade
     County, Florida. Each Party hereby irrevocably submits to the non-exclusive jurisdiction of such courts
     for the adjudication of any dispute brought hereunder.

             15.      Assignment. Amendment and Waiver. This Agreement shall be binding upon and
     inure to the benefit of the Parties hereto and their respective successors and assigns. This Agreement
     may not be amended, waived, discharged or terminated orally, but only by an instrument in writing
     signed by the Party against wtiich enforcement of such amendment, waiver, discharge or termination
     is sought.

              16.      Counterparts. This Agreement may be executed in any number of separate
     counterparts, each of which when so executed shall be deemed an original, and all such counterparts
     shall together constitute one and the same instrument.

             17.      Entire Agreement. This Agreement contains the entire agreement of the Parties with
     respect to the subject matter hereof and, except as set forth herein, there are no other agreements,
     understandings, representations or warranties with respect to such subject matter.

             18.      Severability. In case any provision in this Agreement shall be held by a court of
     competent jurisdiction to be invalid, illegal or unenforceable, such provision shall be severable from
     the remainder of this Agreement and the validity, legality, and enforceability of the remaining
     provisions shall not in any way be affected or impaired thereby.

             19.      Expenses. Each of Assignor and Assignee shall bear their own attorneys' fee and
     costs incurred in connection with this Agreement.

             20.    Construction. The Parties acknowledge that each Party and its counsel has reviewed
     thls Agreement and the Parties hereby agree that any ambiguities in this Agreement shall not be
Case 1:25-cv-20647-BB Document 14-1 Entered on FLSD Docket 02/14/2025 Page 7 of 12




     construed against any Party by virtue of its authorship of this Agreement. Captions and headings in
     this Agreement are for convenience only and shall not affect the construction of this Agreement.

     IN WITNESS WHEREOF, the parties hereto have executed and delivered this Agreement as of the
     date set forth above.


                                                      Assignor:
                                                      AMERANT EQUIPMENT FINANCE
                                                      a division of
                                                      AMERANT BANK, N.A



                                                      Isl -
                                                      Name:   Eclvc.,,-cfu ·y
                                                      Title: F J/P


                                                      Assignee:


                                                      EUCLID TURNAROUND OPPORTUNITY FUND LP



                                                      :/am~i,i~/_
                                                      Title: Manager of Euclid Partners GP LLC
                                                             Its General Partner
Case 1:25-cv-20647-BB Document 14-1 Entered on FLSD Docket 02/14/2025 Page 8 of 12




                                            EXHIBIT A
                                 Loan and Collateral Documents

        1. Loan and Security Agreement No.1002723 dated September 27, 2022 by and among
            Alliance Metals LLC and Amerant Equipment Finance, a division of Amerant Bank
            N.A.
        2. Promissory Note No. 1002723-001 dated September 27, 2022 in the stated amount
            of $4,360,399.99 executed and delivered by Alliance Metals LLC payable to the
            order of Amerant Equipment Finance, a division of Amerant Bank N.A.
        3. Resolution and Certificate of Incumbency dated September 28, 2022 by which
            Alliance Metals LLC certified to Amerant Equipment Finance, a division of Amerant
            Bank N.A. and its successors and assigns as to the matters described therein.
        4. UCC-1 Financing Statement No. 202203178762 filed with the Florida Secured
            Transaction Registry on September 30, 2022 naming Alliance Metals LLC as Debtor
            and Amerant Equipment Finance, a division of Amerant Bank N.A. as Secured Party
        5. Promissory Note No. 1002723-002 dated April 10, 2023 in the stated amount of
            $4,297,683.40 from Alliance Metals LLC payable to the order of Amerant Equipment
            Finance, a division of Amerant Bank N.A
        6. UCC-1 Financing Statement No. 202300998284 filed with the Florida Secured
            Transaction Registry on April 13, 2023 naming Alliance Metals LLC as Debtor and
            Amerant Equipment Finance, a division of Amerant Bank N.A. as Secured Party
        7. Agreement of Guaranty dated September 28, 2022 executed and delivered by
            Technocon International, Inc. and Alliance Metals Alabama LLC (collectively
            "Guarantor") in favor of Amerant Equipment Finance, a division of Amerant Bank
            N.A. and its successors and assigns by which Guarantor unconditionally guaranteed
            the prompt payment of all obligations of Alliance Metals LLC under the Loan and
            Security Agreement described in paragraph 1 above and all promissory notes issued
            pursuant thereto.
        8. Resolution and Certificate of Incumbency dated September 28, 2022 by which
            Technocon International, Inc. certified to Amerant Equipment Finance, a division of
            Amerant Bank N.A. and its successors and assigns as to the matters described
            therein.
        9. Resolution and Certificate of Incumbency dated September 28, 2022 by which
            Alliance Metals Alabama LLC certified to Ame rant Equipment Finance, a division of
            Amerant Bank N.A. and its successors and assigns as to the matters described
            therein.
        10. Agreement of Guaranty dated September 27, 2022 executed and delivered by Larry
            Y Gitman and Jacob Gitman (collectively "Guarantor") in favor of Amerant
            Equipment Finance, a division of Amerant Bank N.A. and its successors and assigns
            by which Guarantor unconditionally guaranteed the prompt payment of all
            obligations of Alliance Metals LLC under the Loan and Security Agreement
            described in paragraph 1 above and all promissory notes issued pursuant thereto.




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Case 1:25-cv-20647-BB Document 14-1 Entered on FLSD Docket 02/14/2025 Page 9 of 12




                                                   EXHIBIT B
                                         Debt Balance and Loan History

     The amount due and owing to Assignor as of 1213012024 under the Loan and Collateral Documents is
     $8,903,255.46 which consists of the following:

     Promissory Note 1002723-001 dated September 27, 2022

     Description                                            Amount

     Principal Outstanding                                  $3,730,601.26

     Prepayment Penalty                                     $223,836.08

     Accrued Interest at Loan Rate                          $176,449.07

     Per diem Interest at Loan Rate                         $ NIA

     Accrued Interest at Default Rate                       $119,710.26

     Per diem interest at Default Rate                      $NIA

     Late Charges                                           $47,890.75




     Promissory Note 1002723-002 dated April 10, 2023

     Description                                            Amount

     Principal Outstanding                                  $3,906,351.71

     Prepayment Penalty                                     $234,381.10

     Accrued Interest at Loan Rate                          $207,377.85

     Per diem Interest at Loan Rate                         $NIA

     Accrued Interest at Default Rate                       $125,688.61

     Per diem interest at Default Rate                      $NIA

     Late Charges                                           $46,005.33




     Attorney's Fees and Costs of Collection                 $84,963.44




     Attached to this Exhibit Bis a complete loan history representing information contained in records kept
     by Assignor in the course of its regularly conducted business activities




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Case 1:25-cv-20647-BB Document 14-1 Entered on FLSD Docket 02/14/2025 Page 10 of 12




                                            EXHIBIT A
                                 Loan and Collateral Documents

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            Alliance Metals LLC and Amerant Equipment Finance, a division of Amerant Bank
            N.A.
        2. Promissory Note No. 1002723-001 dated September 27, 2022 in the stated amount
            of $4,360,399.99 executed and delivered by Alliance Metals LLC payable to the
            order of Amerant Equipment Finance, a division of Amerant Bank N.A.
        3. Resolution and Certificate of Incumbency dated September 28, 2022 by which
            Alliance Metals LLC certified to Amerant Equipment Finance, a division of Amerant
            Bank N.A. and its successors and assigns as to the matters described therein.
        4. UCC-1 Financing Statement No. 202203178762 filed with the Florida Secured
            Transaction Registry on September 30, 2022 naming Alliance Metals LLC as Debtor
            and Amerant Equipment Finance, a division of Amerant Bank N.A. as Secured Party
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            "Guarantor") in favor of Amerant Equipment Finance, a division of Amerant Bank
            N.A. and its successors and assigns by which Guarantor unconditionally guaranteed
            the prompt payment of all obligations of Alliance Metals LLC under the Loan and
            Security Agreement described in paragraph 1 above and all promissory notes issued
            pursuant thereto.
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            Amerant Bank N.A. and its successors and assigns as to the matters described
            therein.
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            Y Gitman and Jacob Gitman (collectively "Guarantor") in favor of Amerant
            Equipment Finance, a division of Amerant Bank N.A. and its successors and assigns
            by which Guarantor unconditionally guaranteed the prompt payment of all
            obligations of Alliance Metals LLC under the Loan and Security Agreement
            described in paragraph 1 above and all promissory notes issued pursuant thereto.




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Case 1:25-cv-20647-BB Document 14-1 Entered on FLSD Docket 02/14/2025 Page 11 of 12




      Date        Source         Amount Financed    Rate     Payment         Interest      Principal      Balance
   9/30/2022   Amount Financed    $4,360,399.99    7.86%       $0.00          $0.00         $0.00      $4,360,399.99
   11/1/2022      Payment                                   $59,863.44     $29,533.87    $30,329.57    $4,330,070.42
   12/1/2022      Payment                                   $59,863.44     $28,376.37    $31,487.07    $4,298,583.35
    1/1/2023      Payment                                   $59,863.44      $28,170.02    $31,693.42   $4,266,889.93
    2/1/2023      Payment                                   $59,863.44      $27,962.32    $31,901.12   $4,234,988.81
    3/1/2023      Payment                                   $59,863.44      $27,753.27    $32,110.17   $4,202,878.64
    4/1/2023      Payment                                   $59,863.44      $27,542.84    $32,320.60   $4,170,558.04
    5/1/2023      Payment                                   $59,863.44      $27,331.03    $32,532.41   $4,138,025.63
    6/1/2023      Payment                                   $59,863.44      $27,117.83    $32,745.61   $4,105,280.02
    7/1/2023      Payment                                   $59,863.44      $26,903.24    $32,960.20   $4,072,319.82
    8/1/2023      Payment                                   $59,863.44      $26,687.24    $33,176.20   $4,039,143.62
    9/1/2023      Payment                                   $59,863.44      $26,469.83    $33,393.61   $4,005,750.01
   10/1/2023      Payment                                   $59,863.44      $26,250.99    $33,612.45   $3,972,137.56
   11/1/2023      Payment                                   $59,863.44      $26,030.72    $33,832.72   $3,938,304.84
   12/1/2023      Payment                                   $59,863.44      $25,809.00    $34,054.44   $3,904,250.40
    1/1/2024      Payment                                   $59,863.44      $25,585.83    $34,277.61   $3,869,972.79
    2/1/2024      Payment                                   $59,863.44      $25,361.20    $34,502.24   $3,835,470.55
    3/1/2024      Payment                                   $59,863.44      $25,135.09    $34,728.35   $3,800,742.20
    4/1/2024      Payment                                   $59,863.44      $24,907.51    $34,955.93   $3,765,786.27
    5/1/2024      Payment                                   $59,863.44      $24,678.43    $35,185.01   $3,730,601.26
                                                           $1,137,405.36   $507,606.63   $629,798.73
Case 1:25-cv-20647-BB Document 14-1 Entered on FLSD Docket 02/14/2025 Page 12 of 12




      Date        Source         Amount Financed    Rate     Payment       Interest      Principal      Balance
   4/18/2023   Amount Financed    4,297,683.40     7.25%      $0.00         $0.00         $0.00      $4,297,683.40
    6/1/2023      Payment                                  $68,826.10    $37,284.72    $31,541.38    $4,266,142.02
    7/1/2023      Payment                                  $57,506.66    $25,774.61    $31,732.05    $4,234,409.97
    8/1/2023      Payment                                  $57,506.66    $25,582.89    $31,923.77    $4,202,486.20
    9/1/2023      Payment                                  $57,506.66    $25,390.02    $32,116.64    $4,170,369.56
   10/1/2023      Payment                                  $57,506.66    $25,195.98    $32,310.68    $4,138,058.88
   11/1/2023      Payment                                   $57,506.66    $25,000.77   $32,505.89    $4,105,552.99
   12/1/2023      Payment                                   $57,506.66    $24,804.38   $32,702.28    $4,072,850.71
    1/1/2024      Payment                                   $57,506.66    $24,606.81   $32,899.85    $4,039,950.86
    2/1/2024      Payment                                   $57,506.66    $24,408.04   $33,098.62    $4,006,852.24
    3/1/2024      Payment                                   $57,506.66    $24,208.07    $33,298.59   $3,973,553.65
    4/1/2024      Payment                                   $57,506.66    $24,006.89   $33,499.77    $3,940,053.88
    5/1/2024      Payment                                   $57,506.66    $23,804.49    $33,702.17   $3,906,351.71
                                                           $701,399.36   $310,067.67   $391,331.69
